









Dismissed and Memorandum Opinion filed July 15, 2004









Dismissed and Memorandum Opinion filed July 15, 2004.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01304-CV

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&nbsp;

FRESH COAT, INC.,
Appellant

&nbsp;

V.

&nbsp;

LIFE FORMS, INC., Appellee

&nbsp;



&nbsp;

On Appeal from the
55th District Court

Harris County, Texas

Trial Court Cause
No. 02-56152

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment signed August 18, 2003.

On July 7, 2004, appellant filed an unopposed motion to
dismiss the appeal in order to effectuate a compromise and settlement
agreement.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly, the appeal is ordered dismissed.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed July 15, 2004.

Panel consists of Justices Fowler,
Edelman, and Seymore.

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